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~C.., f   AO IOM (08118 l Application for a Warrant by Telephone or OU.er Reliable Electronic Means


                                                UNITED STATES DISTRICT COURT
                                                                                   for the
                                                                   Southern District of California

                         In the Matter of the Search of                                )
                   (Briefly describe the property to be searched                       )
                                                                                                                  '22 MJ1919
                    or identify the person by name and address)                                       Case No.
                                                                                       )
                        Red iPhone Smart Phone                                         )
          Seized as FP&F No. 2022565500034201 Line Item 0003                           )
                          ("Target Device 2")
                                                                                       )

              APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
                  I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
          penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
          property to be searched and give its location):
           See Attachment A-2, incorporated herein by reference.

          located in the             Southern               District of                 California                    , there is now concealed (identify the
          person or describe the property to be seized):


           See Attachment B, incorporated herein by reference.

                    The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                           ff evidence of a crime;
                           • contraband, fruits of crime, or other items illegally possessed;
                           • property designed for use, intended for use, or used in committing a crime;
                           • a person to be arrested or a person who is unlawfully restrained.
                    The search is related to a violation of:
                         Code Section                                                                 Offense Description
                  Title 8, U.S.C. § 1324                    Alien Smuggling



                    The application is based on these facts:
                  See Attached Affidavit of Border Patrol Agent Giancarlo Lugo, incorporated herein by reference.


                     If Continued on the attached sheet.
                     •    Delayed notice of _ _ days (give exact ending date if more than 30 days:  _ _ _ _ _ ) is requested under



                                                                                             c~
                          18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                                  Applicant 's signature

                                                                                           Gianc:arlo _!-ugo, Border Patrol Ag_e_nt, U.S. Be>rder Patrol
                                                                                                                  Printed name and title

          Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                                     telephone                                 (specify reliable electronic means).


          Date:            05/31/2022
                                                                                                                      Judge 's signature

          City and state: San Diego, California                                                 HON. Karen S. Crawford, U.S. Magistrate Judge
                                                                                                                  Printed name and title
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 1                                  ATTACHMENT A-2
                               PROPERTY TO BE SEARCHED
 2

 3 The following property is to be searched:

 4 Red iPhone Smart Phone
     Seized as FP&F No. 2022565500034201 Item 0003
 s   ("Target Device 2")

 6 Target Device is currently in the custody of the Department of Homeland Security,
   Customs and Border Protection, United States Border Patrol, San Diego Sector.
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                                      ATTACHMENTB
 1
                                    ITEMS TO BE SEIZED
 2

 3       Authorization to search the cellular telephones described in Attachment A-1 and
   A-2 includes the search of disks, memory cards, deleted data, remnant data, slack space,
 4
   and temporary or permanent files contained on or in the cellular telephones for evidence
   described below. The seizure and search of the cellular telephones shall follow the
 5
   search methodology described in the affidavit submitted in support of the warrants.
 6       The evidence to be seized from the cellular telephones will be electronic records,
   communications, and data such as emails, text messages, chats and chat logs from
 7 various third-party applications, photographs, audio files, videos, and location data, for
   the period of April 27, 2022, through May 27, 2022:
 8
         a.     tending to indicate efforts to smuggle aliens from Mexico into the United
 9              States, and transport aliens inside the United States;

10        b.     tending to identify accounts, facilities, storage devices, and/or services-
                 such as email addresses, IP addresses, and phone numbers-used to
11               facilitate alien smuggling and transportation of smuggled aliens;

12        C.     tending to identify co-conspirators, criminal associates, or others involved
                 in alien smuggling, or transportation of smuggled aliens;
13
          d.     tending to identify travel to or presence at locations involved in the
14               smuggling, transportation, or harboring of illegal aliens, such as stash
                 houses, load houses, or delivery points;
15
          e.     tending to identify the user of, or persons with control over or access to,
16               the Target Device; and/or

17        f.     tending to place in context, identify the creator or recipient of, or establish
                 the time of creation or receipt of communications, records, or data involved
18               in the activities described above,

19 which are evidence of violations of Title 8, United States Code, Section 1324.

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 1                                             AFFIDAVIT
                    I, Giancarlo Lugo, being duly sworn, hereby state as follows:
 2

 3                                          INTRODUCTION
           1.   I submit this affidavit in support of an application for a warrant to search
 4 the following electronic devices:

 5
                              Black Wiko Smart Phone
 6                            Seized as FP&F No. 2022565500034201 Item 0002
                              ("Target Device 1")
 7
                              Red iPhone Smart Phone
 8                            Seized as FP&F No. 2022565500034201 Item 0003
                              ("Target Device 2")
 9            the Target Devices, as further described in Attachments A-1 and A-2, and to seize
10 evidence of a crime, specifically, violations of Title 8, United States Code, Section 1324
     (Alien Smuggling), as further described in Attachment B.
11
             · 2.       The requested warrants related to the investigation and prosecution of Adam
12 CORNEJO for attempting to transport and move illegal aliens within the United States.

13 The Target Devices are currently in the custody of Department of Homeland Security,
     Customs and Border Protection, United States Border Patrol, San Diego Sector.
14
              3.        The facts set forth in this affidavit are based upon my personal observations,
15 my training and experience, and information obtained from various law enforcement

16 personnel and witnesses, including my review of reports prepared by other law
     enforcement officers and agents. This affidavit is intended to show that there is sufficient
17
     probable cause for the requested warrants and does not purport to set forth all of my
18 knowledge of the investigation into this matter. Dates and times are approximate.

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     II
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     II
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                                TRAINING AND EXPERIENCE
 1
           4.     I have been employed by the USBP since 2008 and am currently assigned to
 2
     the San Diego Sector Prosecutions Unit. I graduated from the Border Patrol Basic Academy
 3
     at the Federal Law Enforcement Training Center in Artesia, New Mexico. I am a Federal
 4 Law Enforcement Officer within the meaning of Rule 41(a)(2)(C), Federal Rules of
     Criminal Procedure and have been a Federal Law Enforcement Officer for fourteen years.
 5
     I am authorized by Rule 41 (a) Federal Rules of Criminal Procedure to make applications
 6
     for search and seizure warrants and serve arrest warrants. I have experience and have
 7 received training with respect to conducting investigations of immigration and criminal
     violations of Titles 8, 18, 19, and 21 of the United States Code.
 8
           5.     My current duties involve the preparation of criminal and administrative cases
 9
     for prosecution, including the use of linking related subjects and information via electronic
10 equipment and telephones. In the course of my duties, I investigate and prepare for
     prosecution cases against persons involved in the inducement, transportation, and
11
     harboring of illegal aliens into and within the United States; and, the utilization of illegally-
12
     obtained, counterfeit, altered or genuine immigration documents by illegal aliens to
13 illegally gain entry or remain in the United States.
           6.     During my tenure as a Border Patrol Agent, I have participated in the
14
     investigation of a number of cases involving the smuggling of aliens from Mexico into the
15
     United States and transportation of illegal aliens within the United States, which have
16 resulted in the issuance of arrest warrants, search warrants, seizure warrants, and the
     indictments of persons for alien smuggling, including drivers, passengers, and guides.
17
            7.    Through the course of my training, investigations, and conversations with
18
     other law enforcement personnel, I have gained a working knowledge of the operational
19 habits of alien smugglers and alien transporters, in particular those who attempt to smuggle
     aliens into the United States from Mexico and transport them throughout the Southern
20
     District of California. I am aware that it is a common practice for alien smugglers to work
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                                                   2
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 1 in concert with other individuals and to do so by utilizing cellular telephones to maintain
     communications with co-conspirators and/or illegal aliens in order to further their criminal
 2
     activities. Because they are mobile, the use of cellular telephones permits alien smugglers
 3
     and transporters to easily carry out various tasks related to their smuggling activities,
 4 including, e.g., remotely monitoring the progress of the aliens while the aliens are in transit,
     providing instructions to transporters, guiding aliens to specific pick up locations, warning
 5
     accomplices about law enforcement activity in the area and the status of check-point
 6
     operations, and communicating with co-conspirators who guide aliens, coordinate drop off
 7 locations, and/or operate alien stash houses.

           8.     The smuggling of aliens generates many types of evidence, including, but not
 8
     limited to, cellular phone-related evidence such as voicemail messages referring to the
 9
     arrangements of travel, names, photographs, text messaging (via SMS or other
10 applications), and phone numbers of co-conspirators and illegal aliens. For example,
     drivers and passengers responsible for transporting illegal aliens are typically in telephonic
11
     contact with co-conspirators immediately prior to and/or following the crossing of the
12 illegal aliens at the border, at which time they receive instructions, including where to pick-

13 up the illegal aliens for transportation into the United States and where to take the illegal
     aliens after crossing into the United States. These communications may also include
14
     locations for delivery to stash houses and/or sponsors. Illegal aliens also are typically in
15 telephonic contact with co-conspirators prior to and following their crossing in order to

16 make smuggling arrangements, receive instructions, and report their locations after
     crossing. It is common for alien smugglers to be in contact with co-conspirators weeks to
17
     months in advance of an event to recruit drivers and to coordinate the event. It is also
18 common for co-conspirators to continue to contact each other by phone calls, social media,

19 or messaging applications when contact is lost with the driver after an apprehension has
     occurred.
20

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                                                   3
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 1         9.     Based upon my training, experience, and consultations with law enforcement
     officers experienced in narcotics trafficking investigations, and all the facts and opinions
2
     set forth in this affidavit, I know that cellular telephones (including their Subscriber
3
     Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
4 for example, phone logs and contacts, voice and text communications, and data, such as
     emails, text messages, chats and chat logs from various third-party applications,
5
     photographs, audio files, videos, and location data. In particular, in my experience and
6 consultation with law enforcement officers experienced in alien smuggling investigations,

7 I am aware that individuals engaged in alien smuggling may store photos and videos on
     their cell phones that reflect or show co-conspirators and associates engaged in alien
8
     smuggling, as well as images and videos with geo-location data identifying alien smuggling
9
     transportation routes, and communications to and from recruiters and organizers.
10         10.    This information can be stored within disks, memory cards, deleted data,
     remnant data, slack space, and temporary or permanent files contained on or in the cellular
11
     telephone. Specifically, searches of cellular telephones may yield evidence:
12
                  a. tending to indicate efforts to smuggle aliens from Mexico into the United
13                   States, and transport aliens inside the United States;

14                b. tending to identify accounts, facilities, storage devices, and/or services-
                     such as email addresses, IP addresses, and phone numbers-used to
15                   facilitate alien smuggling and transportation of smuggled aliens;

16                c. tending to identify co-conspirators, criminal associates, or others involved
                     in alien smuggling, or transportation of smuggled aliens;
17
                  d. tending to identify travel to or presence at locations involved in the
18                   smuggling, transportation, or harboring of illegal aliens, such as stash
                     houses, load houses, or delivery points;
19
                  e. tending to identify the user of, or persons with control over or access to,
20                   the Target Device(s); and/or

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                                                 4
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                  f. tending to place in context, identify the creator or recipient of, or establish
 1
                     the time of creation or receipt of communications, records, or data involved
                     in the activities described above.
 2
                           FACTS SUPPORTING PROBABLE CAUSE
 3
           11.    On May 27, 2022, Border Patrol Agent J. Velasquez, D. Schulze, and A.
 4 Cherry were performing their assigned duties at the Campo Border Patrol Station's area of

 5 responsibility. Agents Schulze and Cherry were dressed in plain clothes with their agency
     badge clearly visible on their agency issued vests. Agent Velasquez was dressed in full
 6
     rough duty uniform with all badges and insignia visible.
 7         12.   At approximately 8:50 AM, Agent Cherry observed a grey Mitsubishi SUV

 8 traveling east on State Route 94 (SR 94), the grey SUV was exhibiting suspicious travel
   behavior. Agent Cherry requested record checks on the vehicle which revealed the grey
 9
     SUV to be registered out of San Marcos, California. The records also revealed that the grey
10 SUV had no previous crossings through any immigration check point. At approximately

11 9:01 AM, Agent Schulze was parked at the intersection of Buckman Springs Road and SR
   94, when he informed other Agents that he observed the grey SUV traveling north on
12
   Buckman Sprigs Road. As Agent Schulze began to follow the grey SUV, he observed the
13 driver exhibit some erratic driving behavior.

14         13.   Agent Velasquez informed Agent Schulze that he would be waiting at the
     intersection of Buckman Springs Road and Old Highway 80 to assist. At approximately
15
     9:13 AM, as Agent Schulze approached the intersection of Old Highway 80 and Buckman
16 Springs Road he observed the grey SUV drive through a stop sign and accelerate towards

17 the on ramp to Interstate 8 (1-8). Agent Velasquez quickly followed the grey SUV onto 1-
   8. At approximately 9: 14 AM, Agent Velasquez initiated a vehicle stop traveling east on
18
   1-8 from the Buckman Springs Road on ramp. At approximately 9:15 AM, Agent
19 Velasquez informed dispatch that the grey SUV had failed to yield.

20         14.    While Agent Velasquez and Agent Schulze pursued the grey SUV, Agent
     Cherry had laid out a Vehicle Immobilization Device (YID) across 1-8 just west of the
21
                                                 5
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 1 Kitchen Creek off ramp. As the grey SUV approached the YID it started to slow down
     eventually stoppingjust short ofVID. Agent Schulze and Agent Velasquez approached the
 2
     driver side of the vehicle, Agent Velasquez then assisted the driver, later identified as the
 3
     defendant, Adam CORNEJO, out of the grey SUV. After observing three individuals in the
 4 back seat of the vehicle, Agent Schulze opened the back door and conducted an

     immigration inspection. All three individuals, later identified as material witnesses, Jose
 5
     Alberto CULEBRO-Texpile, Martha Julia MORA-Texpile, and Doralicia MORENO-
 6 Hernandez, stated that they are citizens of Mexico without any immigration documents that
 7 would allow them to enter or remain in the United States legally. At approximately 9:17
     AM, Agent Schulze placed all four individuals, CORNEJO, MORENO, MORA, and
 8
     CULEBRO, under arrest.
 9
           15.      At the time of arrest, a black Wiko smart phone (Target Device 1), was
10 recovered from the center console of the gray SUV, and a red iPhone smart phone (Target
     Device 2) was found on CORNEJO's person. CORNEJO claimed that both phones were
11
     his. Both devices were subsequently seized.
12         16.      Material witnesses, CULEBRO, MORA and MORENO stated that they were
13 citizens of Mexico without any immigration documents that would allow them to enter or
     remain in the United States legally. CULEBRO, MORA, and MORENO stated that they
14
     paid between $8,000 USO and $10,000 USO to be smuggled into the United States
15 successfully. CULEBRO stated that the smuggler told them that a dark gray car was going

16 to pick them up. CULEBRO stated that the driver told them to get into the vehicle and that
     before there were stopped by Border Patrol, the driver asked them what he should do.
17
     MORA stated that a gray vehicle stopped at their location and the driver yelled something
18 for them to get in. MORA stated that once at an intersection, the driver ran the stop sign

19 and was followed by Border Patrol. MORA stated that the driver did not stop, until he saw
     the device the agent deployed across the freeway. MORENO stated that the driver told her
20
     to sit down.
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                                                 6
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 1         17.    Based upon my experience and training, consultation with other law
     enforcement officers experienced in human trafficking investigations, and all the facts and
 2
     opinions set forth in this affidavit, I believe that telephone numbers, contact names,
 3
     electronic mail (email) addresses, appointment dates, messages, pictures, and other digital
 4 information are stored in the memory of the Target Devices. In light of the above facts and
     my experience and training, there is probable cause to believe that the Defendant was using
 5
     the Target Devices to communicate with others to further illegal entry into the United
 6
     States. Based on my training and experience, it is also not unusual for individuals, such as
 7 the Defendant, to attempt to minimize the amount of time they were involved in their
     smuggling activities, and for the individuals to be involved for weeks and months longer
 8
     than they claim. Accordingly, I request permission to search the Target Devices for data
 9
     beginning on April 27, 2022, through May 27, 2022.
10
                                        METHODOLOGY
11         18.    It is not possible to determine, merely by knowing the cellular telephone's
     make, model and serial number, the nature and types of services to which the device is
12
     subscribed, and the nature of the data stored on the device. Cellular devices today can be
13
     simple cellular telephones and text message devices, can include cameras, can serve as
14 personal digital assistants and have functions such as calendars and full address books and
     can be mini-computers allowing for electronic mail services, web services and rudimentary
15
     word processing. An increasing number of cellular service providers now allow for their
16
     subscribers to access their device over the internet and remotely destroy all of the data
17 contained on the device. For that reason, the device may only be powered in a secure
     environment or, if possible, started in "flight mode" which disables access to the network.
18
     Unlike typical computers, many cellular telephones do not have hard drives or hard drive
19 equivalents and store information in volatile memory within the device or in memory cards

20 inserted into the device. Current technology provides some solutions for acquiring some of
     the data stored in some cellular telephone models using forensic hardware and software.
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                                                7
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 1 Even if some of the stored information on the device may be acquired forensically, not all
     of the data subject to seizure may be so acquired. For devices that are not subject to forensic
 2
     data acquisition or that have potentially relevant data stored that is not subject to such
 3
     acquisition, the examiner must inspect the device manually and record the process and the
 4 results using digital photography. This process is time and labor intensive and may take
     weeks or longer.
 5
            19.   Following the issuance of this warrant, a case agent familiar with the
 6
     investigation will collect the subject cellular telephone and subject it to analysis. All
 7 forensic analysis of the data contained within the telephone and its memory cards will
     employ search protocols directed exclusively to the identification and extraction of data
 8
     within the scope of these warrants.
 9
           20.    Based on the foregoing, identifying, and extracting data subject to seizure
10 pursuant to these warrants may require a range of data analysis techniques, including
     manual review, and, consequently, may take weeks or months. The personnel conducting
11
     the identification and extraction of data will complete the analysis within ninety (90) days
12
     of the date the warrant is signed, absent further application to this court.
13                    PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
           21.    Law enforcement has not previously attempted to obtain the evidence sought
14
     by these warrants.
15                                         CONCLUSION
16         22.    Based on the facts and information set forth above, there is probable cause to
     believe that a search of the Target Devices will yield evidence of an alien smuggling
17
     violation of Title 8, United States Code, Section 1324.
18         23.    Because the Target Devices were seized at the time of CORNEJO's arrest
19 and have been securely stored since that time, there is probable cause to believe that such
     evidence continues to exist on the Target Devices. As stated above, I believe that the
20
     appropriate date range for this search is from April 27, 2022, through May 27, 2022.
21
                                                  8
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 1         24.    Accordingly, I request that the Court issue a warrant authorizing law
     enforcement to search the items described in Attachments A-1 and A-2, seize the items
 2
     listed in Attachment B using the above-described methodology.
 3

     I swear the foregoing is true and correct to the best of my knowledge and belief.
 4

 5

 6                                           ~
                                            rnancaric;~
                                                              ~----
 7                                          Border Patrol Agent

 8 Attested to by the applicant in accordance with the requirements of Ped. R. Crim. P.
     4.1 by telephone on this 31st day of May 2022.
 9

10


ll HON. KAREN S. CRAWFORD
   United States Magistrate Judge
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